






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-11-00793-CR






Charles Jerome Hutchinson, Appellant


v.


The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 403RD JUDICIAL DISTRICT

NO. D-1-DC-10-900019, HONORABLE BRENDA KENNEDY, JUDGE PRESIDING



						

O R D E R


PER CURIAM


	Appellant Charles Jerome Hutchinson filed his notice of appeal on November 9,
2011.  This Court notified appellant on February 23, 2012 that he had not paid or made arrangements
to pay for the reporter's record and that his appeal would be considered without the reporter's record
and his brief would be due March 26, 2012, if he did not respond to the notice.  To date, appellant's
brief has not been filed.

	On April 12, 2012, this Court ordered appellant's retained counsel, Lance C. Hamm,
to file appellant's brief no later than April 27, 2012.  On May 7, 2012, appellant's counsel filed a
Motion to Extend Time to File Appellant's Brief.  We grant the motion in part and order Lance C.
Hamm to file appellant's brief on or before June 1, 2012.  If the brief is not filed by that date, counsel
may be required to show cause why he should not be held in contempt of court.


	It is ordered on May 16, 2012.



Before Chief Justice Jones, Justices Pemberton and Rose

Do Not Publish


